

People v Kovalsky (2020 NY Slip Op 03028)





People v Kovalsky


2020 NY Slip Op 03028


Decided on May 27, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 27, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
JOHN M. LEVENTHAL
SYLVIA O. HINDS-RADIX
FRANCESCA E. CONNOLLY, JJ.


2013-05077
 (Ind. No. 98/12)

[*1]The People of the State of New York, respondent,
vAndrew Kovalsky, appellant.


Andrew Kovalsky, Napanoch, NY, appellant pro se.
William V. Grady, District Attorney, Poughkeepsie, NY (Kirsten A. Rappleyea of counsel), for respondent.
Yasmin M. Daley Duncan, Brooklyn, NY, former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated November 21, 2018 (People v Kovalsky, 166 AD3d 900), affirming a judgment of the County Court, Dutchess County, rendered April 29, 2013.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
CHAMBERS, J.P., LEVENTHAL, HINDS-RADIX and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








